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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                    )
                                             )
              Plaintiff,                     )
                                             )
v.                                           )         CR-21-21-R
                                             )
MARY ELIZABETH SANCHEZ,                      )
                                             )
              Defendants.                    )

                                        ORDER

       Before the Court are Defendant Mary Elizabeth Sanchez’s (“Defendant”) motions

to suppress and requests for evidentiary hearings in Doc. Nos. 104 and 105. The

Government responded in opposition to both motions, Doc. Nos. 116 and 121. The Court

finds as follows.

       First, in Doc. No. 104, Defendant requests that the Court exclude any “custodial

statements or statements made while in the functional equivalent of custody by her to law

enforcement.” Further, Defendant argues that she has “a constitutional right to a pretrial

hearing to determine the admissibility of any in-custody statements,” pursuant to Jackson

v. Denno, 378 U.S. 368, 376–77 (1964). In response, the Government explains that “it does

not intend to introduce Defendant’s statement to law enforcement … in its case-in-chief.”

Doc. No. 116, n.1. The Government argues that it may, however, introduce the statement

on cross-examination because Defendant waived her Miranda rights. Doc. No. 116-2.

Defendant offers no factual allegations in support of her motion.
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       When a defendant knowingly and voluntarily waives Miranda rights—absent

intimidation, coercion, or deception—such statements are admissible. United States v.

Cash, 733 F.3d 1264, 1282 (10th Cir. 2013). The Government bears the burden of

establishing that Defendant voluntarily waived her Miranda rights. Colorado v. Connelly,

479 U.S. 157, 168–69 (1986) (“the State need prove waiver only by a preponderance of the

evidence”). Here, the Government has met its burden by producing a video recording of

Defendant’s questioning, Doc. No. 116-1, and a waiver form signed by Defendant

revealing that the waiver was voluntary. Doc. No. 116-2. Further, Defendant has not

offered any evidence indicating that the waiver was involuntary. Accordingly, the custodial

statements are admissible.

       Second, in Doc. No. 105, Defendant requests that the Court exclude “the

methamphetamine seized in the vehicle search” on November 16, 2020 at a border patrol

checkpoint, arguing that it amounted to an improper warrantless search under the Fourth

Amendment. In response, the Government argues that the search was justified by a positive

alert from a narcotic detection canine. Doc. No. 121, p. 4; Doc. No. 121-1. Again,

Defendant offers no factual allegations in support of her motion.

       The Tenth Circuit has explained that “a canine’s alert to the presence of contraband

during an exterior sniff of a vehicle gives rise to probable cause for agents to search that

vehicle’s interior.” United States v. Forbes, 528 F.3d 1273, 1277 (10th Cir. 2008) (citing

United States v. Rosborough, 366 F.3d 1145, 1152 (10th Cir. 2004)). Further, routine

canine inspections are permissible at the border even without the consent of the driver. See

United States v. Williams, 403 F.3d 1203, 1207 (10th Cir.2005) (“A canine sniff on the

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exterior of a vehicle during a lawful traffic stop does not implicate legitimate privacy

interests.”). Here, the Government provided a report issued by a Border Patrol Agent

stating that a canine sniff alerted the agent as to the possibility of contraband in the vehicle.

Doc. No. 121-1. The agent referred the vehicle to the secondary inspection area where the

canine and the agent searched the vehicle and uncovered contraband. Id. Thus, the canine’s

positive alert at the border inspection area provided probable cause for the search of the

vehicle.

       As stated above, Defendant’s motions to suppress do not set forth any factual basis

for the relief sought. Further, the purpose of an evidentiary hearing is to resolve conflicting

evidence. Anderson v. Att'y Gen. of Kansas, 425 F.3d 853, 860 (10th Cir. 2005); see also

United States v. Pettigrew, 468 F.3d 626, 638 (10th Cir. 2006) (“An evidentiary hearing

may be appropriate when there are material facts in dispute relevant to the motion to

suppress.”) (emphasis added). Because the Defendant fails to set forth any factual basis for

her motions, there is no factual dispute for the Court to resolve. Accordingly, Defendants’

motions to suppress and requests for evidentiary hearings, Doc. Nos. 104 and 105, are

hereby DENIED.

       IT IS SO ORDERED on this 1st day of June 1, 2021.




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